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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY


  JUICE ENTERTAINMENT, LLC,                       Civil Action No. 2: 11-cv-07318-WHW-CLW
  THOMAS DORFMAN, AND CHRIS                                    Hon. William H. Walls
  BARRETT,

                  Plaintiffs,
                                                         NOTICE OF WITHDRAWAL
  vs.                                                       OF APPEARANCE

  LIVE NATION ENTERTAINMENT, INC.,

                  Defendant.

  TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

          PLEASE TAKE NOTICE that Stone & Magnanini LLP, counsel for Plaintiffs, Juice

  Entertainment, LLC, Thomas Dorfman, and Chris Barrett, informs the Court that Daniel E.

  Bonilla, Esq. is no longer associated with the firm of Stone & Magnanini LLP, and requests that

  the Court withdraw the appearance of Mr. Bonilla as counsel and discontinue electronic

  notifications to him in this action.

          PLEASE TAKE FURTHER NOTICE that this Firm will continue to remain as counsel of

  record in this action.
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  Dated: February 16, 2018                 Respectfully submitted,

                                           STONE & MAGNANINI LLP



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